                      IN THE UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF TENNESSEE
                                  AT NASHVILLE

COREY LEA                        )
                                 )
     v.                          )                         Case No. 3:23-cv-00340
                                 )
ACTING SECRETARY OF AGRICULTURE, )
GARY WASHINGTON, et al.          )


TO: Honorable Aleta A. Trauger, United States District Judge


                   REPORT           AND       RECOMENDATION

       By Order entered April 17, 2023 (Docket Entry No. 6), this pro se case was referred to the

Magistrate Judge for pretrial proceedings under 28 U.S.C. § 636(b)(1)(A) and (B), Rule 72 of the

Federal Rules of Civil Procedure, and the Local Rules of Court.

       Pending before the Court is the motion to dismiss (Docket Entry No. 61) filed by

Defendants Thomas Vilsack, Secretary of Agriculture, and the United States Department of

Agriculture. Since the filing of the motion, then Secretary of Agriculture Vilsack was replaced

by Acting Secretary of Agriculture Gary Washington, whom the Court ordered substituted as the

party defendant pursuant to Fed. R. Civ. P. 25(d). (Docket Entry No. 80.) Plaintiff opposes the

motion. For the reasons set out below, the undersigned respectfully recommends that the motion

be granted.

                                     I. BACKGROUND

       Corey Lea (“Plaintiff”) is a Black “rancher and entrepreneur” who resides in Arrington,

Tennessee. During approximately the last 15 years, he has brought numerous lawsuits against the

United States Department of Agriculture (“USDA”) and its officials based on alleged wrongdoings




Case 3:23-cv-00340        Document 81       Filed 02/10/25        Page 1 of 20 PageID #: 1054
by the USDA. In addition to the instant lawsuit, he has filed three other lawsuits against the

USDA in this Court. 1 Generally, Plaintiff has not been successful in his lawsuits.

       On April 13, 2023, he initiated this lawsuit by filing a pro se complaint against Thomas

Vilsack (“Vilsack”), the Secretary of Agriculture at the time, 2 and the USDA. Complaint (Docket

Entry No. 1). Seeking various forms of relief, Plaintiff’s complaint raises five claims based on

allegations of racial discrimination in the manner in which the USDA had, or had not, resolved

administrative claims and discrimination complaints brought by Black farmers and in the manner

in which the USDA and then-Secretary Vilsack administered and implemented Section 1006 of

the American Rescue Plan Act (“ARPA”), Pub. L. No. 117-2, 135 Stat. 4 (2021), and Sections

22006 and 22007 of the Inflation Reduction Act (“IRA”), Pub. L. 117-169, 136 Stat. 1818 (2022).

       The ARPA and IRA are two multi-trillion dollar stimulus bills passed by Congress in the

wake of the COVID-19 pandemic and the resulting economic downturn. Each bill contains

provisions authorizing the USDA to provide financial and other assistance in the agricultural sector

of the economy. Section 1006 of ARPA, as subsequently amended by Section 22007 the IRA

(“Section 22007”), establishes a variety of programs and funding to assist farmers, ranchers, or

forest landowners. One of those programs provides that:

       In addition to amounts otherwise available, there is appropriated to the Secretary of
       Agriculture for fiscal year 2022, to remain available until September 30, 2031, out
       of any money in the Treasury not otherwise appropriated, $2,200,000,000 for a
       program to provide financial assistance, including the cost of any financial
       assistance, to farmers, ranchers, or forest landowners determined to have
       experienced discrimination prior to January 1, 2021, in Department of Agriculture


       1
         Lea v. Farmers Nat’l Bank, et al., No. 3:15-cv-00595 (M.D. Tenn 2015); Lea v. United
States Dep’t of Agric., et al., 3:16-cv-00735 (M.D. Tenn 2016); Lea, et al v. United States Dep’t
of Agric., et al., 3:21-cv-00468 (M.D. Tenn. 2021).
       2
         As noted above, by order entered January 31, 2025, the Court substituted the acting
Secretary of Agriculture for Vislack. (Docket Entry No. 80.)


                                                 2

Case 3:23-cv-00340         Document 81        Filed 02/10/25      Page 2 of 20 PageID #: 1055
       farm lending programs, under which the amount of financial assistance provided to
       a recipient may be not more than $500,000, as determined to be appropriate based
       on any consequences experienced from the discrimination, which program shall be
       administered through 1 or more qualified nongovernmental entities selected by the
       Secretary subject to standards set and enforced by the Secretary.

Section 1006(e) of the ARPA (as amended by Section 22007 of the IRA) (“Section 1006(e)”).

       The IRA provides for additional financial relief for distressed farm loan borrowers in

Section 2006, which provides:

       In addition to amounts otherwise available, there is appropriated to the Secretary
       for fiscal year 2022, out of amounts in the Treasury not otherwise appropriated,
       $3,100,000,000, to remain available until September 30, 2031, to provide payments
       to, for the cost of loans or loan modifications for, or to carry out section 331(b)(4)
       of the Consolidated Farm and Rural Development Act (7 U.S.C. 1981(b)(4)) with
       respect to distressed borrowers of direct or guaranteed loans administered by the
       Farm Service Agency under subtitle A, B, or C of that Act (7 U.S.C. 1922 through
       1970). In carrying out this section, the Secretary shall provide relief to those
       borrowers whose agricultural operations are at financial risk as expeditiously as
       possible, as determined by the Secretary.

Section 22006 of the IRA (“Section 22006”).

       In response to Plaintiff’s complaint, the original Defendants sought dismissal of the

lawsuit. (Docket Entry No. 22.) In support of their motion, Defendants pointed out that much of

Plaintiff’s complaint was simply a recasting of claims and allegations related to the foreclosure of

his farm in Kentucky and a subsequent administrative discrimination complaint that he filed,

claims and allegations that were extensively litigated by Plaintiff in other cases in this District and

in the United States District Court for the Western District of Kentucky. (Id.) Defendants

specifically noted that the Western District of Kentucky, in Lea v. U.S. Dep’t of Agric., 2014 WL

2435903, at *1 (W.D. Ky. May 29, 2014), enjoined Plaintiff from filing any additional civil

lawsuits in the Western District of Kentucky that alleged or asserted factual or legal claims based

upon or arising out of the Kentucky foreclosure. Defendants further noted that this Court had

twice dismissed lawsuits brought Plaintiff against Vilsack and the USDA in the Middle District of

                                                  3

Case 3:23-cv-00340          Document 81        Filed 02/10/25       Page 3 of 20 PageID #: 1056
Tennessee that were premised in some manner upon claims related to the Kentucky foreclosure

and the administrative discrimination complaint that he filed. See Lea v. USDA, et al., No. 16-

00735, 2018 WL 721381 (M.D.Tenn. Feb. 6, 2018); aff'd, No. 18-5535, 2019 WL 2246555 (6th

Cir. Feb. 5, 2019); Lea, et al. v. Vilsack, et al., No. 3:21-CV-00468, 2023 WL 1141833 (M.D.Tenn.

Jan. 30, 2023), aff'd sub nom. Lea v. U.S. Dep't of Agric., 2024 WL 841436 (6th Cir. Feb. 28,

2024).

         Prior to resolution of the motion to dismiss, Plaintiff made multiple filings that sought to

add new claims, allegations, defendants, and requests for relief to this lawsuit, and that, in some

instances, seemed to contradict his original pleading. Construing these filings as requests by

Plaintiff to amend his complaint, the Court determined that an amended complaint from Plaintiff

was necessary to clarify his case, and directed Plaintiff to file “a comprehensive, amended

complaint that encompasses the entirety of his allegations and that clearly and distinctly sets out

his claims.” February 12, 2024 Order (Docket Entry No. 42) at 4. The Court advised Plaintiff

that, in filing his amended complaint, he should (1) avoid an excessive or bloated amended

complaint that includes voluminous legal arguments, such as the 58-page motion for further relief

(Docket Entry No. 38) he had previously filed, and (2) adhere to the pronouncement of Rule 8(a)(2)

of the Federal Rules of Civil Procedure that he file a “short and plain statement” showing that he

is entitled to relief. (Id. at 4-5.) Considering the requirement that Plaintiff file an amended

complaint, the Court dismissed the then pending motion to dismiss without prejudice. (Id. at 6-7.) 3

         Plaintiff thereafter timely filed his First Amended Complaint (the “FAC”), which is the

operative pleading in this lawsuit. (Docket Entry No. 44.) The USDA and Secretary remain in




         3
             In the Order, the Court also addressed several other pending motions.


                                                   4

Case 3:23-cv-00340            Document 81       Filed 02/10/25     Page 4 of 20 PageID #: 1057
the action and have filed the now pending motion to dismiss in response to the FAC. Three other

private entities – Windsor Group, LLC, The Midtown Group, and Analytic Acquisitions – are also

named as defendants in the FAC.         An appearance has been entered on behalf of Analytic

Acquisitions (Docket Entry No. 68), but it has not responded to the FAC. Neither of the other

two private entities have appeared in the case, and it is unclear whether they have been served with

process.

       In addition to Defendants’ motion to dismiss, there is also pending before the Court a

motion by Plaintiff for a temporary preliminary injunction (Docket Entry No. 52), and a motion

for entry of default against Windsor Group, LLC, and The Midtown Group (Docket Entry No. 74).

Both motions are also addressed herein.

                                    II. PLAINTIFF’S FAC

       Plaintiff’s FAC appears to be an attempt by him to comply with the Court’s directive to

clearly set out his allegations and claims, and he has not merely refiled his original complaint with

minimal additions. Nevertheless, the FAC remains difficult to follow because it intermingles

factual allegations that are specific to Plaintiff with legal and policy argument regarding the USDA

and with assertions about actions involving generic “Black” and “White” farmers. As best the

Court can determine from the FAC, the specific factual allegations pertaining to Plaintiff are as

follows.

       At some point after May 22, 2008, Plaintiff filed a complaint of discrimination with the

USDA that he alleges was accepted but never resolved. (Docket Entry No. 44 at ¶ 2.) 4 In October




       4
         The FAC is vague about when the discrimination complaint was filed and what it
involved. However, Plaintiff indicates in his response to the motion to dismiss that the complaint
is “08-1401.” Response (Docket Entry No. 69) at 15.


                                                 5

Case 3:23-cv-00340         Document 81        Filed 02/10/25      Page 5 of 20 PageID #: 1058
2022, the USDA provided Plaintiff with financial relief pursuant to Section 22006 as a distressed

borrower when $228,083.86 was applied to an outstanding loan that was administered by the Farm

Service Agency, leaving him with a remaining liability of approximately $19,500.00 on the loan.

(Id. at ¶ 30.)    Plaintiff alleges that he requested a hearing about the relief but that the

administrative law judge refused to docket his complaint or set a hearing. (Id. at ¶ 36.) Plaintiff

alleges that he thereafter applied for a “farm ownership and farm operating loan for land located

in Rutherford County, Tennessee” but that the loan was denied “stating that Plaintiff already had

an existing farm loan in Kentucky.” (Id. at ¶ 37.) Plaintiff states that he filed another request for

a hearing but the Office of Administrative Law Judges refused to docket his case. (Id. at ¶ 41.) In

January 2024, Plaintiff applied for another “farm ownership and farm operation loan in Rutherford

County, Tennessee” that was denied because of two outstanding delinquent loans. (Id. at ¶ 43.)

Plaintiff alleges that he filed a complaint about this denial with the USDA’s Office for Civil Rights,

which was accepted and docketed as Complaint Number 2024-01-00015519. (Id. at ¶ 42.)

       Based upon these allegations, Plaintiff sets out what appears to be three theories of

wrongdoing by Defendants. First, he claims that, because his 2008 discrimination complaint has

not been resolved, the statutory moratorium provisions set out in the Food, Conservation, and

Energy Act of 2008 at 7 U.S.C. § 1981a(b)(1) and the implementing regulations set out at 7 C.F.R.

§ 766.358 should have been followed to prevent the USDA from providing the debt relief that was

provided to him in 2022 through Section 22006. (Docket Entry No 44 at ¶¶ 14-15 and 44-48.) He

contends that the USDA’s act of providing him with this debt relief has harmed him by preventing

him from obtaining the new farm loans in 2023 and 2024. (Id. at ¶ 15.) He further alleges that the

denial of administrative hearings was unlawful and that Defendants have conspired to create

schemes to harm him. (Id. at ¶¶ 2 and 56.)



                                                  6

Case 3:23-cv-00340          Document 81        Filed 02/10/25      Page 6 of 20 PageID #: 1059
       Second, he claims that Defendants have committed racial discrimination against him and

other Black farmers because the USDA has: denied or not acted upon discrimination complaints

made by Black Farmers; failed to resolve discrimination complaints through Section 1006(e);

implemented an unequal administrative system for Black farmers; failed to apply the statutory

moratorium to Black farmers; provided more relief to White farmers; and, provided White Farmers

with financial relief through direct deposits instead of through debt relief, debt write-downs, or

checks. (Id. at ¶¶16, 49-51, 52, and 56-57.)

       Finally, Plaintiff sets out 17 pages of complaints about the manner in which the USDA

conducts its activities, claiming that it has: wrongfully implemented relief programs and allocated

relief under the ARPA and IRA; wrongfully administered discrimination complaints; wrongfully

relied upon private entities – Windsor Group, LLC, The Midtown Group, and Analytic

Acquisitions – to implement Section 1006(e)/Section 22007 in violation of the “private

nondelegation doctrine”; engaged in retaliation; acted arbitrarily, capriciously, and not in

accordance with the law; and failed comply with the Administrative Procedures Act (“APA”), 5

U.S.C. §§ 701, et seq., with respect to the implementation of, and adherence to, rules and

procedures. (Id. at ¶¶ 62-121.)

       The relief requested by Plaintiff is somewhat confusing and contradictory. Although

Plaintiff styles his FAC as one “for declaratory and injunctive relief” (id. at 1), the actual relief

section of the FAC does not request any injunctive relief and lists 16 specific requests for

declaratory judgments. (Id. at 38-41.) Additionally, even though Plaintiff has not included in the

FAC the requests for damages that were included in one of his requests to amend, see Motion for

Further Relief (Docket Entry No. 38), he nonetheless asserts that, because of their unlawful




                                                 7

Case 3:23-cv-00340         Document 81         Filed 02/10/25     Page 7 of 20 PageID #: 1060
actions, “Defendants need to replace 72 acres of farm and 16 years of economic damages.” (Id. at

54.)

                  III. MOTION TO DISMISS, RESPONSE, AND REPLY

       Defendants move to dismiss the FAC pursuant to Federal Rules of Civil Procedure

12(b)(1), 12(b)(3), and 12(b)(6). After recounting the lengthy history of Plaintiff’s litigation with

the USDA and its officials, see Memorandum in Support (Docket Entry No. 62) at 2-7, which the

Court sees no need to again summarize here, Defendants first argue that the instant case is merely

another attempt by Plaintiff to revisit claims arising from the 2009 Kentucky farm foreclosure,

claims which Defendants asserts have been extensively addressed and rejected in Plaintiff’s prior

lawsuits. Defendants argue that, as found in several of those lawsuits, the Middle District of

Tennessee is not the proper venue for such claims. (Id. at 11-13.) They further argue that, to the

extent the FAC relies on claims related to the loss of the farm in Kentucky or claims that were or

could have been raised in his previous lawsuits, such claims are barred by the doctrine of res

judicata. (Id. at 13-16.) Defendants next argue that Plaintiff lacks standing because his lawsuit is

not based upon an actual injury traceable to Defendants’ conduct that is redressable by the relief

that he seeks. (Id. at 16-20.) Finally, Defendants argue that Plaintiff’s allegations simply do not

support claims for relief because they are either speculative and conclusory or do not show that he

has suffered a legal harm. (Id. at 21-25.)

       In response, Plaintiff contends that venue does exist in this Court, especially considering

his allegation that he was denied loans for property in Rutherford County, Tennessee, and that res

judicata does not apply. Response (Docket Entry No. 69) at 1-13. Plaintiff contends that his

allegations of racial disparity in the manner financial relief under Sections 22006 and his

contention that he was denied the opportunity to contest the write-down of his debt are sufficient



                                                 8

Case 3:23-cv-00340         Document 81        Filed 02/10/25      Page 8 of 20 PageID #: 1061
to show an injury for the purposes of standing. (Id. at 13-16.) With respect to Defendant’s failure

to state a claim argument, Plaintiff contends that, although he was notified by a letter dated March

27, 2024, that the remainder of his loan debt has been paid by another payment of financial relief

under Section 22006 and that he is now eligible for future federal benefits, his requested

declaratory relief would still “curtail systemic discrimination of the agency who still is

discriminating against Black farmers, such as the Plaintiff. Moreover, the Preliminary Injunction

submitted by the Plaintiff is for an imminent harm caused by the Federal Defendants that directly

related to the continued discrimination and denial of equal protection and due process under the

Fifth Amendment.” (Id. at 17.) Finally, Plaintiff argues that Defendants have conceded certain

claims in this case. (Id. at 17-18.)

        In their reply, Defendants argue that: (1) Plaintiff cannot simply circumvent the binding

results of his prior litigation by intermingling his old claims with new allegations; (2) Plaintiff’s

claims have become moot by his own admission that his outstanding debts have now been paid

off; (3) Plaintiff did not decline the financial relief on his loan debts despite claiming that it was

part of a conspiracy against him; (4) Plaintiff’s contention in his response that he is entitled to

pursue equitable subrogation is meritless based on the facts of this case; and, (5) Plaintiff’s

assertions related to the manner of financial relief under Section 22006 do not support a viable

claim. See Reply (Docket Entry No. 70).

                                 IV. STANDARD OF REVIEW

        Rule 12(b)(1) motions to dismiss for lack of subject matter jurisdiction fall into two general

categories: facial attacks and factual attacks. United States v. Ritchie, 15 F.3d 592, 598 (6th Cir.

1994). A facial attack “questions merely the sufficiency of the pleading,” and the trial court

therefore takes the allegations of the complaint as true. Wayside Church v. Van Buren Cnty., 847



                                                  9

Case 3:23-cv-00340          Document 81        Filed 02/10/25      Page 9 of 20 PageID #: 1062
F.3d 812, 816 (6th Cir. 2017) (quoting Gentek Bldg. Prod., Inc. v. Sherwin-Williams Co., 491 F.3d

320, 330 (6th Cir. 2007); citing Ohio Nat'l Life Ins. Co. v. United States, 922 F.2d 320, 325 (6th

Cir. 1990)). 5 “A party seeking to invoke the jurisdiction of the federal courts ... bears the burden

of establishing that such jurisdiction exists.” Ohio ex rel. Skaggs v. Brunner, 549 F.3d 468, 474

(6th Cir. 2008) (per curiam).

       When a defendant asserts that venue is improper in the court in which a lawsuit is filed and

seeks dismissal pursuant to Rule 12(b)(3), the burden of establishing venue falls on the plaintiff,

and the Court may examine facts outside of the complaint but “must draw all reasonable inferences

and resolve factual conflicts in favor of the plaintiff.” Ian v. Bottom Line Record Co., NO. 3:16-

cv-00187, 2016 WL 8711721, at *2 (M.D. Tenn. July 1, 2016) (Crenshaw, J.) (quoting Gone to

the Beach, LLC, v. Choicepoint Serv., 434 F. Supp. 2d 534, 536B37 (W.D. Tenn. 2006)) (cleaned

up). See also Marion v. Conley, No. 3:06-CV-268, 2006 WL 4608613, at *1 (E.D. Tenn. Oct. 4,

2006) (same).

       A Rule 12(b)(6) motion to dismiss is reviewed under the standard that the Court must

accept all the well-pleaded allegations contained in the complaint as true, resolve all doubts in

Plaintiff’s favor, and construe the complaint liberally in favor of the pro se Plaintiff. Kottmyer v.

Maas, 436 F.3d 684 (6th Cir. 2006); Boswell v. Mayer, 169 F.3d 384, 387 (6th Cir. 1999); Morgan

v. Church’s Fried Chicken, 829 F.2d 10, 11-12 (6th Cir. 1987).       However, the plaintiff's factual

allegations must be enough to show a plausible right to relief. Bell Atlantic Corp. v. Twombly, 550

U.S. 544, 555-61 (2007). The complaint must contain either direct or inferential factual allegations




       5
         Defendants do not indicate whether they are pursuing a facial or factual attack on subject
matter jurisdiction. However, because they do not present evidence in support of their motion or
rely on evidence in the record, the Court views their Rule 12(b)(1) attack as raising a facial attack.


                                                 10

Case 3:23-cv-00340         Document 81        Filed 02/10/25      Page 10 of 20 PageID #: 1063
that are sufficient to sustain a recovery under some viable legal theory. Id.; Scheid v. Fanny Farmer

Candy Shops, Inc., 859 F.2d 434, 436-37 (6th Cir. 1988). To state a plausible claim for relief, the

alleged facts must provide “more than a sheer possibility that a defendant has acted unlawfully.”

Mik v. Federal Home Loan Mortg. Corp., 743 F.3d 149, 157 (6th Cir. 2014) (quoting Ashcroft v.

Iqbal, 556 U.S. 662, 678 (2009)).

       A court may appropriately take judicial notice of other court proceedings without

converting a motion to dismiss into one for summary judgment. Buck v. Thomas M. Cooley Law

School, 597 F.3d 812, 816 (6th Cir. 2010).

                                         V. ANALYSIS

       The Court has reviewed the parties’ filings at length. Although Plaintiff is proceeding pro

se, his filings clearly indicate that he has more than an average layman’s knowledge of the law and

of the subject material. Nonetheless, his ability to fill the pages of his filings with argument and

relevant law does not equate to having a viable lawsuit. The Court finds that the motion to dismiss

filed by Defendants is well taken and that this lawsuit is appropriately dismissed as to all claims

and Defendants.

A. Venue and Res Judicata

       As an initial matter, the Court is not swayed by Defendants’ arguments that the lawsuit

should be dismissed because of improper venue and res judicata. To be sure, Plaintiff continues

to mingle into this lawsuit allegations and arguments that arise out of or are related to the claims

and issues of the Kentucky foreclosure that have been extensively litigated and found against

Plaintiff in other federal lawsuits. He also devotes several pages of his response to arguments that

appear to be directed at a desire to revive claims related to the Kentucky foreclosure and the

underlying loans. (Docket Entry No. 69 at 2-4 and 7-13.)



                                                 11

Case 3:23-cv-00340         Document 81        Filed 02/10/25      Page 11 of 20 PageID #: 1064
          However, these arguments are misplaced and fruitless given the clear directives from the

Court in Plaintiff’s prior cases in this District that claims related to or arising out of the Kentucky

foreclosure will not be litigated in this District. 6 Nonetheless, despite Plaintiff’s misplaced

arguments, the FAC does not actually attempt to re-litigate these claims and/or seek relief from

the foreclosure. If it did, then Defendants’ venue and res judicata arguments would have merit.

However, the FAC involves denied farm loans for property in Rutherford County, Tennessee,

which is located within the boundaries of this District, and is also based upon events and actions

taken by Defendants that have only recently occurred and that could not have been litigated in

Plaintiff’s prior lawsuits. For these reasons, dismissal based on improper venue or res judicata is

not warranted.

B. Article III Standing

          Defendants raise their lack of subject matter jurisdiction argument in the stance of a

standing argument because the absence of standing deprives the Court of subject matter

jurisdiction, Murray v. U.S. Dep't of Treasury, 681 F.3d 744, 748 (6th Cir. 2012), and not as a

challenge to the Court’s exercise of federal question jurisdiction over this case, which clearly

exists. “The threshold question in every federal case is whether the court has the judicial power to

entertain the suit.” Nat’l Rifle Assoc. of Am. v. Magaw, 132 F.3d 272, 279 (6th Cir. 1997) (citing

Warth v. Seldin, 422 U.S. 490, 498 (1975)).




      6
        Indeed, the Court notes that, in a recent order entered in Lea, et al v. United States Dep’t
of Agric., et al., 3:21-cv-00468 (M.D. Tenn. 2021), the Court enjoined Plaintiff from “filing any
new matters in the United States District Court for the Middle District of Tennessee against any
defendant related to the 2009 foreclosure of his farm property in Warren County, Kentucky”
without first complying with pre-filing procedures and a screening to“ determine whether the
proposed complaint raises claims that are harassing, vexatious, or duplicative of his prior dismissed
lawsuits.” See Order entered August 1, 2024 (Docket Entry No. 260), in Case 3:21-cv-00468.


                                                  12

Case 3:23-cv-00340          Document 81       Filed 02/10/25       Page 12 of 20 PageID #: 1065
       Article III of the United States Constitution prescribes that federal courts may exercise

jurisdiction only where an actual “case” or “controversy” exists. U.S. Const. Art. III, § 2. The

case or controversy requirement allows federal courts to deliver judgments on real disputes, not

hypothetical ones, and to resolve concrete disputes, not to pronounce judgments on theoretical

disputes that may or may not materialize and, if they do, may appear in a variety of forms.

Saginaw Cnty., Michigan v. STAT Emergency Med. Servs., Inc., 946 F.3d 951, 954 (6th Cir. 2020).

)). “If a dispute is not a proper case or controversy, the courts have no business deciding it, or

expounding the law in the course of doing so.” DaimlerChrysler Corp. v. Cuno, 547 U.S. 332, 341

(2006). The component of standing is an “essential and unchanging part” of the case and

controversy requirement, Lujan v. Defenders of Wildlife, 504 U.S. 555, 560 (1992), and the party

seeking to invoke the federal court’s jurisdiction must establish the necessary standing to sue

before the court may consider the merits of that party's cause of action. Whitmore v. Arkansas,

495 U.S. 149, 154 (1990).

       To establish standing under the Constitution, a plaintiff must show that: (1) he has suffered

an “injury in fact” that is (a) concrete and particularized; and (b) actual or imminent, not

conjectural or hypothetical; (2) the injury is fairly traceable to the challenged action of the

defendant; and (3) it is likely, as opposed to merely speculative, that the injury will be redressed

by the relief requested. Gaylor v. Hamilton Crossing CMBS, 582 F.App’x 576, 579–80 (6th Cir.

2014) (citing Lujan, 504 U.S. at 560–61); see also Friends of the Earth, Inc. v. Laidlaw Envt’l

Servs. (TOC), Inc., 528 U.S. 167, 180-81 (2000). These constitutional requirements – commonly

known as (1) injury-in-fact, (2) causation, and (3) redressability – apply in every case.

       The Court finds that Plaintiff’s lawsuit suffers from significant deficiencies with respect to

standing. Regarding Plaintiff’s complaints about Defendants’ implementation of the financial



                                                 13

Case 3:23-cv-00340         Document 81       Filed 02/10/25      Page 13 of 20 PageID #: 1066
relief provision of Sections 1006(e) and 2007, his allegations of racial discrimination, and his

arguments about the legality of the USDA’s rules and procedures, the Court finds a dearth of

factual allegations in the FAC that show that Plaintiff has suffered an actual injury in fact that

would confer standing as to these claims. Plaintiff’s allegations about what has happened to generic

“Black farmers” and how they have been mistreated do not show a concrete and particularized

injury to him. Further, these allegations are largely based on conjecture and speculation, which

will not support a finding of constitutional standing. Sumpter v. Wayne Cty., 868 F.3d 473, 491

(6th Cir. 2017).

       Plaintiff’s assertion of possible future injuries likewise fails to show that he is subject to

the type of threatened or future injury that is real, immediate, and certain, which is necessary to

show standing for the type of declaratory relief that he requests. Susan B. Anthony List v. Driehaus,

573 U.S. 149, 158 (2014); Crawford v. U.S. Dep't of the Treasury, 868 F.3d 438, 454 (6th Cir.

2017). A plaintiff cannot bring a lawsuit “simply to avoid a possible future injury,” Saginaw

County, 946 F.3d at 954-55 (quoting Clapper v. Amnesty Int'l USA, 568 U.S. 398, 409 (2013))

(cleaned up), and the “mere risk of future harm” is not an injury sufficient to establish standing.

Safety Specialty Ins. Co., 53 F.4th at 1020 (citing TransUnion LLC v. Ramirez, 141 S. Ct. 2190,

2211 (2021)).

       Additionally, a claim is considered moot and therefore no longer a live “case” or

“controversy” “when the issues presented are no longer ‘live’ or the parties lack a legally

cognizable interest in the outcome.” Already, LLC v. Nike, Inc., 568 U.S. 85, 91 (2013). Both

Plaintiff’s response and Defendants’ reply indicate that Plaintiff has now been provided with full

debt relief and his debts are no longer a bar to eligibility for additional farm loans. See Response

(Docked Entry No. 69) at 17; Reply (Docket Entry No. 70) at 2. In other words, events that have



                                                 14

Case 3:23-cv-00340         Document 81        Filed 02/10/25      Page 14 of 20 PageID #: 1067
occurred during the course of the proceedings in this case appear to have mooted any claim by

Plaintiff that the Section 22006 debt relief he received will injury his ability to obtain future farm

loans.

         Because Article III standing is an issue implicating the Court’s subject matter jurisdiction

over a case, it may be addressed by the Court at any time. Fed. R. Civ. P. 12(h)(3); Zurich Ins.

Co. v. Logitrans, Inc., 297 F.3d 528, 531 (6th Cir. 2002). It is therefore appropriate for the Court

to address whether Plaintiff has shown standing in the case with respect the three private entities

that are named as Defendants – Windsor Group, LLC, The Midtown Group, and Analytic

Acquisitions. The Court finds that Plaintiff’s FAC lacks factual allegations showing that he has

been injured in any manner by these private entities or that he has otherwise suffered an injury

because of any action by them. Accordingly, Plaintiff’s complaints about the alleged delegation

by the USDA of any duties or roles to them fails to show that he has standing to pursue any type

of claim against them. Although these three Defendants are not part of the motion to dismiss, the

Court finds that their dismissal is required because of a lack of standing for any claims against

them. Jones v. Glad Music Publ'g & Recording LP, 535 F.Supp.3d 723, 726 (M.D. Tenn. 2021)

(dismissing claims against non-moving defendants because of a lack of subject matter jurisdiction

over the claims brought against them).

C. Failure to State Claim for Relief

         Assuming that Plaintiff can survive the standing hurdle with respect to his first theory of

wrongdoing and claims that are based upon factual allegations of specific events that occurred with

respect to him, the Court finds that he fails to show a plausible entitlement to relief that is sufficient

to state a claim for relief. The bulk of Plaintiff’s claims are premised upon his theory that the

moratorium provision of 7 U.S.C. § 1981a(b) should have prevented the USDA from providing



                                                   15

Case 3:23-cv-00340          Document 81         Filed 02/10/25       Page 15 of 20 PageID #: 1068
him with him debt relief under Section 22006 because his discrimination complaint #08-1401 with

the USDA had never been resolved. Section 1981a(b), titled “Moratorium,” provides:

               (1)     In general

                       Subject to the other provisions of this subsection, effective
                       beginning on the date of the enactment of this subsection, there shall
                       be in effect a moratorium, with respect to farmer program loans
                       made under subchapter I, II, or III, on all acceleration and
                       foreclosure proceedings instituted by the Department of Agriculture
                       against any farmer or rancher who--
                       (A)     has pending against the Department a claim of program
                               discrimination that is accepted by the Department as valid;
                               or
                       (B)     files a claim of program discrimination that is accepted by
                               the Department as valid.

               (2)     Waiver of interest and offsets

                       During the period of the moratorium, the Secretary shall waive the
                       accrual of interest and offsets on all farmer program loans made
                       under subchapter I, II, or III for which loan acceleration or
                       foreclosure proceedings have been suspended under paragraph (1).

               (3)     Termination of moratorium

                       The moratorium shall terminate with respect to a claim of
                       discrimination by a farmer or rancher on the earlier of--
                       (A)    the date the Secretary resolves the claim; or
                       (B)    if the farmer or rancher appeals the decision of the Secretary
                              on the claim to a court of competent jurisdiction, the date
                              that the court renders a final decision on the claim.

7 U.S.C. § 1981a(b).

       Assuming for present purposes that the loans for which debt relief was provided to Plaintiff

are loans that are covered by Section 1981a(b)(1), Plaintiff’s factual assertion that complaint #08-

1401 has never been resolved appears to the Court to be incorrect at best. Filings made by

Plaintiff in one of his prior cases in this Court show that a Final Agency Decision was made by

the USDA’s Office of the Assistant Secretary for Civil Rights dismissing complaint #08-1401 on



                                                16

Case 3:23-cv-00340        Document 81        Filed 02/10/25      Page 16 of 20 PageID #: 1069
March 25, 2010. See Docket Entry No. 95-27 in Lea, et al. v. Sec’y of Agric., et al., 3:21-cv-

00468 (M.D. Tenn 2021). Under Section 1981a(b)(3), any moratorium that would have existed

because of the pendency of this discrimination complaint would have been terminated when the

Secretary resolved the complaint on March 25, 2010. There is simply no viable legal claim that

can be based in any way upon Plaintiff’s assertion that the Section 22006 debt relief was barred

by a moratorium under Section 1981a(b). Plaintiff appears to argue that, even absent a moratorium,

the USDA somehow acted unlawfully by providing him with several hundred thousand dollars of

financial debt relief under Section 22006; relief that eventually extinguished the loan obligations.

It escapes the Court how providing this debt relief to Plaintiff creates the basis for a legal claim

that entitles him to additional relief.

          The Court finds that Plaintiff fails to state a claim for relief based on his allegations of

racial discrimination, a conspiracy against him, or retaliation. Plaintiff’s factual allegations about

such claims are entirely conclusory. He has not set forth any specific factual allegations of actions

taken against him that would support claims for relief under any of these theories.

        The Court finds that, although Plaintiff fills his FAC with references to violations of the

APA, he fails to set forth a viable claim that he is entitled to legal relief under the APA. To the

extent that Plaintiff complains that he was denied an avenue to appeal the adverse decisions on the

two farm loan applications in Rutherford County, he has not shown that he attempted to pursue

the appeal rights set out in 7 C.F.R. § 780.6. To the extent that he complains that the provision

of debt relief to him under Section 22006 was a final agency action that triggered his right to a

hearing or appeal under the APA, he has not persuasively shown how this financial debt relief was

an adverse action by the USDA that aggrieved him or caused him a legal wrong. Finally, Plaintiff

complains about decisions made by the Secretary about how to implement and award financial



                                                 17

Case 3:23-cv-00340          Document 81       Filed 02/10/25      Page 17 of 20 PageID #: 1070
assistance under Section 22006. However, Section 22006 provides that the Secretary shall carry

out and provide relief to borrowers under Section 22006 “as determined by the Secretary.”

Accordingly, the decisions complained about appear to be committed to the discretion of the

agency and therefore do not fall within the purview of review under the APA. See 5 U.S.C. §

701(a).

          Finally, Plaintiff argues that Defendants conceded additional claims for relief that were

included in the motion for further relief (Docket Entry No. 39) that was conditionally granted by

the Court’s February 12, 2024 Order. Plaintiff’s argument is meritless. First, Defendants have

not conceded any claims in their motion to dismiss. Second, and more importantly, the Court

conditionally granted Plaintiff’s motion only to the extent that it, and other motions filed by him,

were construed as requests by him to amend his original complaint. (Docket Entry No. 42 at 1 and

3-4.) The proposed claims in the motion were not incorporated into this case by the Court’s Order.

          Indeed, the Court’s explicit instruction to Plaintiff in that Order was for Plaintiff to file a

single pleading that clarifies his case, “a comprehensive, amended complaint that encompasses the

entirety of his allegations and that clearly and distinctly sets out his claims.” (Id. at 4.) The FAC

that he subsequently filed is the legally operative complaint in this case and sets out the only claims

that are at issue in this matter. Parry v. Mohawk Motors of Mich., Inc., 236 F.3d 299, 306 (6th Cir.

2000). Proposed claims that were a part of prior filings made by Plaintiff are not a part of this

case.

        IV. PLAINTIFF’S MOTION FOR A TEMPORARY RESTRAINING ORDER

          Also currently pending before the Court is Plaintiff’s motion for a temporary injunction to

enjoin Defendants from taking enforcement actions against the loan debts that remained after the




                                                    18

Case 3:23-cv-00340           Document 81        Filed 02/10/25       Page 18 of 20 PageID #: 1071
initial financial debt relief under Section 22006 was provided to him in October 2022. (Docket

Entry No. 52.)

       Denial of this motion is warranted for three reasons. First, the motion has become moot

because, as noted herein, Plaintiff has been provided with additional financial debt relief under

Section 22006 that has extinguished the loan debt. Second, Plaintiff’s motion does not indicate

that any actual enforcement action has been taken against him by Defendants or that he is under

any real and imminent threat of such action. For that reason, there does not appear to be a need for

the injunctive relief that he requests. Third, the Court has determined that Defendants’ motion to

dismiss is meritorious and that this action is properly dismissed. Plaintiff cannot therefore show

that he has a chance of success on the merits of his case, much less a likelihood of success, which

is a necessary showing for the grant of any preliminary injunction.

                                V. MOTION FOR DEFAULT

       Plaintiff has filed a motion for entry of default against Windsor Group, LLC, and The

Midtown Group. (Docket Entry No. 74.) As set out herein, the Court finds that Plaintiff does not

have standing to pursue claims against these Defendants. Accordingly, the motion for default

against them is moot.

                                        RECOMMENDATION

       Based on the foregoing, it is respectfully RECOMMENDED that:

       1.        The motion to dismiss (Docket Entry No. 61) filed by Defendants Secretary of

Agriculture and the United States Department of Agriculture be GRANTED.

       2.        Defendants Windsor Group, LLC, The Midtown Group, and Analytic Acquisitions

be DISMISSED from this action for want of subject matter jurisdiction due to Plaintiff’s lack of

standing.



                                                19

Case 3:23-cv-00340         Document 81       Filed 02/10/25      Page 19 of 20 PageID #: 1072
       3.      Plaintiff’s motion for a temporary preliminary injunction (Docket Entry No. 52) be

DENIED.

       4.      Plaintiff’s motion for entry of default against Windsor Group, LLC, and The

Midtown Group (Docket Entry No. 74) be DENIED.

       5.      This action be DISMISSED in its entirety and final judgment entered.

       ANY OBJECTIONS to this Report and Recommendation must be filed within fourteen

(14) days of service of this Report and Recommendation and must state with particularity the

specific portions of this Report and Recommendation to which objection is made. See Rule

72(b)(2) of the Federal Rules of Civil Procedure and Local Rule 72.02(a). Failure to file written

objections within the specified time can be deemed a waiver of the right to appeal the District

Court's Order regarding the Report and Recommendation. See Thomas v. Arn, 474 U.S. 140

(1985); United States v. Walters, 638 F.2d 947 (6th Cir. 1981). Any response to the objections

must be filed within fourteen (14) days after service of objections. See Federal Rule 72(b)(2) and

Local Rule 72.02(b).


                                                    Respectfully submitted,




                                                    BARBARA D. HOLMES
                                                    United States Magistrate Judge




                                               20

Case 3:23-cv-00340        Document 81       Filed 02/10/25      Page 20 of 20 PageID #: 1073
